






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00844-CR






Mary Ann Twiggs, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT

NO. 66869, HONORABLE JOE CARROLL, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant was convicted of evading arrest and sentenced to seven years'
imprisonment.  The trial court has certified that the case is a plea bargain case and that appellant has
no right to appeal.  See Tex. R. App. P. 25.2(a)(2).  We therefore dismiss the appeal.  Tex. R. App.
P. 25.2(d) (if trial court does not certify that defendant has right to appeal, "appeal must be
dismissed").


					___________________________________________

					David Puryear, Justice

Before Justices Puryear, Pemberton and Rose

Dismissed for Want of Jurisdiction

Filed:   January 14, 2011

Do Not Publish			


